  Case 18-13101       Doc 47   Filed 08/06/20 Entered 08/06/20 16:34:19             Desc Main
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                           UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                      Eastern Division

In Re:                                       )                BK No.:    18-13101
Mary Hernandez                               )
                                             )                Chapter: 13
                                             )
                                                             Honorable Timothy Barnes
                                             )
                                             )
               Debtor(s)                     )

            ORDER AUTHORIZING DEBTOR TO OBTAIN CREDIT/INCUR DEBT

        This matter coming to be heard on the motion of the Debtor to obtain credit/incur debt; after due
notice having been given and the opportunity for a hearing thereon and the Court being fully advised of
the matter herein,

     IT IS HEREBY ORDERED THAT:

   The Debtor is permitted to incur financing in the amount not to exceed $21,267.65 for the purchase
of a 2017 KIA Sorento or similar vehicle, with monthly payments not to exceed $449.59/mo for a term
of 72 months. The interest rate shall not exceed 15%.




                                                          Enter:


                                                                   Timothy A. Barnes
Dated: August 06, 2020                                             United States Bankruptcy Judge

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